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VIRGINIA:

                   IN THE CIRCUIT COURT FOR THE CITY OF RICHMOND
 A. P. G.
                  , AN INFANT, BY
HIS MOTHER AND NEXT FRIEND,
BRITTANY M. JONES,

     Plaintiff,

v.                                               Case No. CL21-2040-5

FISHER-PRICE, INC., MATTEL, INC.,
WAL-MART.COM USA, LLC, WALMART,
INC., WAL-MART ASSOCIATES, INC.,
AND WAL-MART STORES EAST, LP ,

     Defendants.


                                      DOCKET SHEET

Following is a list of pleadings and other documents filed with the City of Richmond Circuit
Court:

Complaint                                                                            5/7/21
Motion to Amend                                                                      11/30/21
Order on Motion for Leave to Amend                                                   12/21/21
Proof of Service on Fisher Price                                                     1/28/22
Proof of Service on Mattel                                                           1/28/22
Proof of Service on Walmart                                                          1/28/22
Consent Order re Extension to File Answer and Discovery Responses – Filed not        2/18/22
entered
Affidavit Service of Process to Secretary of the Commonwealth – Fisher Price         2/23/22
Affidavit Service of Process to Secretary of the Commonwealth – Mattel, Inc.         2/23/22
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